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                           Susman Godfrey l.l.p.
                                  a registered limited liability partnership




                                           March 31, 2025

VIA ECF
Hon. Ona T. Wang
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

       RE:     Authors Guild et al. v. OpenAI, Inc., et al., and Alter et al. v. OpenAI Inc.,
               et al., Nos. 1:23-cv-08292-SHS & 1:23-cv-10211-SHS

Dear Judge Wang:

        Pursuant to Rule II.b of Your Honor’s Individual Practices, Class Plaintiffs seek an
informal discovery conference requesting OpenAI to produce to Plaintiffs a set of highly relevant
documents that OpenAI has already agreed to produce in other cases. The documents are ESI from
three custodians who the Class Plaintiffs intend to depose: Michael Lampe, Brad Lightcap, and
Wojciech Zaremba. There is no colorable dispute regarding the relevance, burden, or
proportionality of asking OpenAI to click “send” and forward these documents—which involve


      —to the Class Plaintiffs. The Court should order OpenAI to click “send” so that Class
Plaintiffs can coordinate deposition questions with other parties who have received, or who will
receive, the documents, and so these witnesses will only need to be deposed once.

       Notwithstanding the unchallenged relevance and absence of burden, OpenAI has resisted
production during the parties’ meet and conferrals, including a telephone call on January 9 and in
multiple follow-up emails, because OpenAI wants Plaintiffs to agree to certain conditions about
other hypothetical discovery requests in the future. In OpenAI’s words:

       OpenAI remains willing to discuss cross-producing materials (and, indeed, has
       agreed to cross-produce the files of several custodians already). But we don’t
       believe it is appropriate for Plaintiffs to make unpredictable, seriatim demands for
       new cross-productions and/or custodians based on information that Plaintiffs have
       had since discovery began.

Exhibit A at 1. OpenAI is holding these relevant documents hostage, trying to use them to extract
concessions about other custodians or other unspecified discovery requests. This is improper.
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I.      Legal Standard

        Courts routinely require production of additional custodial files where, after a threshold
showing of relevance, the party resisting discovery fails to “show[] that the production of all of
the requested employees’ email communications would be unduly burdensome or that a search of
their files would not potentially yield relevant information.” See Capitol Records., Inc. v.
MP3tunes, LLC, 261 F.R.D. 44, 50 (S.D.N.Y. 2009); Delta Air Lines v. The Lightstone Group,
2021 WL 2117247, at *3 (S.D.N.Y. May 24, 2021) (granting motion to compel where party failed
to “specify[] the nature or size of the burden . . .”).

       Where the requesting party is simply asking the producing party to forward on documents
that have already been produced in another case, courts routinely find that there is no burden
associated with doing so. See, e.g., Ramos v. Town of E. Hartford, No. 3:16-CV-166 (VLB), 2016
WL 7340282, at *9 (D. Conn. Dec. 19, 2016) (granting motion to compel production where
“producing documents that they have already identified imposes little burden on Defendants”); In
re Bank of Am. Corp. Sec., Derivative, & Emp. Ret. Income Sec. Act (ERISA) Litig., No. 09 MDL
2058 (DC), 2009 WL 4796169, at *3 (S.D.N.Y. Nov. 16, 2009) (ordering production of documents
already produced in related matters because Defendants “have already collected, reviewed, and
organized the documents for production in other proceedings, and the burden of making another
copy for plaintiffs here will be slight.”).

II.     OpenAI Possesses Relevant, Non-Duplicative Documents From Michael Lampe, Brad
        Lightcap, and Wojciech Zaremba

         The documents that OpenAI has already collected, reviewed, and agreed to produce in
other cases from the files of Lampe, Lightcap, and Zaremba are undoubtedly relevant here. OpenAI
agreed to produce their documents in the News Cases and agreed to produce the documents of
Lampe and Lightcap in the Northern District of California class action. OpenAI has not disputed
their relevance at all, nor could it.

       Michael Lampe is a member of OpenAI’s technical staff. Lampe’s conversations with other
custodians reveal that Lampe




       Brad Lightcap is the Chief Operating Officer of OpenAI. Communications with Lightcap
reveal that he




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      Wojciech Zaremba is a Co-Founder of OpenAI. Documents from other witnesses
demonstrate that OpenAI’s Zaremba productions include documents relevant to infringement,
OpenAI’s fair use defense, and willfulness.




III.     Forwarding on a Production of Documents From Lampe, Lightcap, and Zaremba Is
         Not Burdensome
        Class Plaintiffs are not asking OpenAI to apply any new set of search terms to documents
collected from Lampe, Lightcap, and Zaremba. Class Plaintiffs seek no more than the documents
that OpenAI already collected, reviewed, and agreed to produce for these witnesses. Because of
this limited scope, and because OpenAI has already agreed to produce these documents in other
cases, there is no burden at all associated with producing them.

IV.      A Conditional Demand About Future Hypothetical Requests Is Not a Valid Basis to
         Resist Relevant Non-Burdensome Discovery

       OpenAI does not dispute relevance, burden, or proportionality of Class Plaintiffs’ request.
The excuse OpenAI has offered to withhold the documents at issue from Class Plaintiffs is that
OpenAI wants Class Plaintiffs to agree to limitations on future hypothetical requests as a condition
for OpenAI to forward these relevant productions to Class Plaintiffs. See Exhibit A at 1.

       This effort to try to extract a limitation on future requests is simply not a valid basis on
which to reject to the production of relevant discovery under any rule. If Class Plaintiffs request
other documents in the future, OpenAI will be within its rights to object based on the protections
afforded them under the applicable rules. But the rules do not allow OpenAI to withhold relevant,
non-burdensome discovery as a tool to force concessions on separate issues, and it appears that a
Court order is required to make that clear.




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                             Sincerely,



LIEFF CABRASER HEIMANN SUSMAN GODFREY LLP         COWAN, DEBAETS,
& BERNSTEIN LLP                                   ABRAHAMS & SHEPPARD
                                                  LLP

/s/ Rachel Geman          /s/ Rohit Nath          /s/ Scott J. Sholder
Rachel Geman              Rohit Nath              Scott J. Sholder




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